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  1   RON BENDER (SBN 143364)
      JULIET Y. OH (SBN 211414)
  2   TODD M. ARNOLD (SBN 221868)
  3   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.       FILED & ENTERED
      10250 Constellation Boulevard, Suite 1700
  4   Los Angeles, California 90067
      Telephone: (310) 229-1234                            SEP 19 2019
  5   Facsimile: (310) 229-1244
      Email: RB@LNBYB.COM; JYO@LNBYB.COM; TMA@LNBYB.COMCLERK U.S. BANKRUPTCY COURT
  6                                                              Central District of California
                                                                 BY tatum      DEPUTY CLERK
      Attorneys for Chapter 11 Debtor and Debtor-in-Possession
  7

  8
                            UNITED STATES BANKRUPTCY COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
 10
 10
                                     LOS ANGELES DIVISION
 11
 11
      In re:                                      Case No.: 2:18-bk-23361-RK
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 13   ZACKY & SONS POULTRY, LLC, a                Chapter 11
      California limited liability company,
 14
 14                                               INITIAL   ORDER    RE:  DEBTOR’S
               Debtor and Debtor in Possession.   EMERGENCY MOTION FOR ENTRY OF
 15
 15                                               AN     ORDER:    (1)   APPROVING
 16
 16                                               SETTLEMENT      AGREEMENT;    (2)
                                                  APPROVING THE SALE OF REAL
 17
 17                                               PROPERTY TO FOSTER FARMS, LLC
                                                  FREE AND CLEAR OF ALL LIENS,
 18
 18                                               CLAIMS,    ENCUMBRANCES      AND
                                                  INTERESTS, OTHER THAN PERMITTED
 19
 19                                               ENCUMBRANCES; (3) VACATING A
 20
 20                                               PRIOR SALE ORDER REGARDING THE
                                                  SUBJECT REAL PROPERTY; AND
 21
 21                                               (4) GRANTING RELATED RELIEF

 22
 22                                               Hearing:
                                                  Date: September 17, 2019
 23
 23                                               Time: 11:00 a.m.
 24
 24                                               Place: Courtroom 1675
                                                         255 East Temple Street
 25
 25                                                      Los Angeles, California 90012

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 1          A hearing was held on September 17, 2019 at 11:00 a.m. (the “Hearing”) before the

 2   Honorable Robert N. Kwan, United States Bankruptcy Judge for the Central District of

 3   California, Los Angeles Division, in Courtroom “1675” located at 255 E. Temple Street, Los

 4   Angeles, California 90012, for the Court to consider that certain Emergency Motion For Entry Of

 5   An Order: (1) Approving Settlement Agreement; (2) Approving The Sale Of Real Property To

 6   Foster Farms, LLC Free And Clear Of All Liens, Claims, Encumbrances And Interests, Other

 7   Than Permitted Encumbrances; (3) Vacating A Prior Sale Order Regarding The Subject Real

 8   Property; And (4) Granting Related Relief [Doc. No. 355] (the “Motion”)1 filed by Zacky & Sons

 9   Poultry, LLC (the “Debtor”), a California limited liability company and the debtor and debtor-in-

10   possession in the above-captioned Chapter 11 bankruptcy case (the “Case”). Appearances were

11   made at the Hearing as set forth on the record of the Court.

12          The Court, having considered the Motion and all papers filed by the Debtor in support of

13   the Motion, the oral statements and representations of counsel and other parties in interest made

14   at the Hearing, and all other matters of record in the Case, proper notice of the Motion and the

15   Hearing having been provided, having received no opposition or objections to the Motion, finding

16   that: (i) the Settlement Agreement and Mutual Release (the “Settlement Agreement”), in

17   substantially the form attached as Exhibit “1” to the Declaration of Lillian D. Zacky annexed to

18   the Motion, which has been entered into by and among the Debtor, secured creditor Great Rock

19   Capital Partners Management, LLC (“Great Rock”), secured creditor GemCap Lending I, LLC

20   (“GemCap”), and the Official Committee of Unsecured Creditors appointed in the Debtor’s
21   chapter 11 bankruptcy case (the “Creditors’ Committee,” and collectively with the Debtor, Great

22   Rock, and GemCap, the “Parties”); (ii) the terms of such Settlement Agreement, are fair,

23   reasonable, and in the best interests of the Debtor’s bankruptcy estate and creditors; and (iii)

24   Foster Farms, LLC (“Purchaser”) is a “good faith purchaser entitled to the protections afforded by

25   11 U.S.C. § 363(m) with respect to the 8 Debtor Properties which are listed in Exhibit “A”

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27
     1 All capitalized terms not specifically defined herein shall have the meanings ascribed to them in
28   the Motion.
                                                       2
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 1    hereto, including as to actions taken by Purchaser to effectuate its purchase of the 8 Debtor

 2    Properties subsequent to entry of this Order, and other good cause appearing therefor,

 3            IT IS HEREBY ORDERED AS FOLLOWS:

 4            1.      The Settlement Agreement and all of its terms are approved in their entirety and

 5   the Debtor is authorized to proceed with consummation of the Settlement Agreement.

 6            2.      The Debtor is authorized to execute and/or deliver such additional agreements and

 7   documents, and to take all further actions, reasonably necessary to consummate the terms and

 8   conditions of the Settlement Agreement.

 9            3.      Great Rock and GemCap shall provide reimbursement to Debtor’s bankruptcy

10   counsel, Levene, Neale, Bender, Yoo & Brill L.L.P. (“LNBYB”) of one-third (1/3) each of the

11   amount of the actual costs incurred by the Debtor and LNBYB to serve notice of the Motion to the

12   Debtor’s creditors and other parties in interest, and the remainder of such costs shall be paid from

13   the professional fee carve-out of $250,000 from the Foster Farms Purchase Price and/or other

14   funds in the estate.

15            4.      The Debtor is authorized to sell the 8 Debtor Properties which are listed in Exhibit

16   “A” hereto to Purchaser in accordance with the terms described in the Settlement Agreement,

17   subject to the entry of a further Court order approving the form of the Debtor APA and authorizing

18   the sale of the 19 Properties (which includes the 8 Debtor Properties owned by the Debtor) to

19   Purchaser for the Foster Farms Purchase Price (the “Sale Order”).

20            5.      The prior order entered on July 3, 2019 approving the sale of the 19 Properties (as
21   that term is defined in the Motion) to Great Rock [Doc. No. 311] (the “19 Properties Sale Order”)

22   is hereby vacated in its entirety; provided, however, that in the event the sale of the 19 Properties

23   to Purchaser does not close as required under the Settlement Agreement, the 19 Properties Sale

24   Order shall be reentered by the Court and any appeal period therefrom shall begin to run from the

25   date the 19 Properties Sale Order is reentered..

26            6.      This Order shall be binding on all creditors of the Debtor, the United States
27   Trustee, on any subsequently appointed trustee or receiver, and all other parties in interest. The

28   validity of the Settlement Agreement approved herein shall not be affected by the appointment of a
                                                        3
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 1   successor trustee(s), the dismissal of the Case, or the conversion of the Case to another chapter

 2   under the United States Bankruptcy Code.

 3           7.      A further hearing on the Motion is set for September 27, 2019 at 11:00 a.m. as a

 4   holding date for the Court to consider the sale of the 19 Properties to Purchaser as described in the

 5   Motion, but such hearing may be continued with the approval of the Court and/or may be vacated

 6   in the event that the APAs have been signed by the Debtor, Non-Debtor Affiliates and Purchaser

 7   and submitted to the Court with a proposed form of the Sale Order which has been approved by

 8   the Parties and Purchaser, in which event the Court will enter the Sale Order without further notice

 9   or hearing.

10           IT IS SO ORDERED.

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24   Date: September 19, 2019

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                                EXHIBIT “A”
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 1
 2                                       19 Properties

 3
 4           8 Debtor Properties:
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              • 19010 & 19012 S. Brawley Avenue, Riverdale, CA [APN 053-090-
 6              37S]
              • 43501 & 43473 6th Avenue, Corcoran, CA [APN 046-270-004 & 046-
 7              270-035]
 8            • 590 W. Kamm Avenue, Caruthers, CA [APN 043-050-15S]
              • 16395 19th Avenue, Lemoore, CA [APN 024-170-020]
 9            • 19744 Kent Avenue, Lemoore, CA [APN 024-170-073]
              • 17388 & 17432 18th Avenue, Lemoore, CA [APN 026-060-007]
10            • 8351 S. McMullin Grade, Fresno, CA [APN 035-061-08S]
11            • 1486 S. Industrial Way, Kerman, CA [APN 023-060-44S]

12           11 Non-Debtor Properties:
13            • 20115 Del Oro Road, Apple Valley, CA [APN 434-191-33]
14            • 7915 Deep Creek Road, Apple Valley, CA [APN 433-061-02 & 433-
                061-07]
15            • 18606 Lords Road, Helendale, CA [APN 466-041-18]
              • 5556 S. Placer Avenue, Kerman, CA [APN 030-040-57]
16            • 9507 Niles Avenue, Corcoran, CA [APN 044-030-036]
17            • 8479 S. Madera Avenue, Kerman, CA [APN 030-070-49S]
              • 5546 S. Placer Avenue, Kerman, CA [APN 030-040-62]
18            • 20739 W. American Avenue, Kerman, CA [APN 030-040-64]
              • 5606 E. Davis Avenue, Laton, CA [APN 056-020-50S]
19
              • 25765 Whitesbridge Avenue, Kerman, CA [APN 015-171-29S]
20            • 15956 S. East Avenue, Caruthers, CA [APN 042-042-18S]

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